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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
        v.                                        )   Case No. 3:12-CR-067 JD
                                                  )
 RAUL RAFAEL ROMAN CAMACHO (03)                   )


                                              ORDER

        Now before the Court is Defendant Raul Rafael Roman Camacho’s Third Motion in Limine

 [DE 175], seeking to prohibit the government from introducing a statement that Mr. Roman

 allegedly made to investigators. The government moved to strike the motion or in the alternative for

 an extended period of time to respond due to the fact that the case against Mr. Camacho’s co-

 defendants was about to proceed to trial [DE 180]. The Court set an extended briefing schedule, and

 the matter is now ripe for ruling. Because Mr. Roman’s motion is based on a supposed conflict

 between a document provided by the government only a few days before the motion was made, the

 Court will deny the government’s motion to strike. Proceeding to the merits, however, the Court

 holds that Mr. Roman’s argument is without basis or merit, and therefore denies the motion.

        Mr. Roman allegedly gave a statement to Special Agent Havlin indicating that he was aware

 that what his co-defendant, Omar Duran Lagunes, was doing was illegal. Because the statement

 apparently also implicates his co-defendants, it would not be admissible in a joint trial. Bruton v.

 United States, 391 U.S. 123 (1968). To get around this problem, the government proposed to

 introduce a stipulated redacted statement containing the substance of Mr. Roman’s statement as it

 implicated himself, without directly implicating his co-defendants. After Mr. Roman and others

 objected to the statement, however, the government changed course and moved to sever Mr. Roman

 from the other defendants so that Mr. Roman could fully exercise his right to cross-examine
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 government agents about the alleged statement without prejudicing the co-defendants. Mr. Roman

 seeks to exclude any statement that he allegedly made to investigators because he believes the two

 versions of the statement (the agent’s report of the original interview and the summary statement

 proposed by the government in an effort to avoid a Bruton violation) conflict. Specifically, he points

 out that the report claims that Mr. Roman admitted that he knew what his alleged co-conspirator was

 doing was illegal, whereas the proposed summary statement suggests that Mr. Roman admitted he

 knew that what he himself was doing was illegal. This inconsistency, according to Roman, makes

 the original statement “demonstrably unreliable.”

        Mr. Roman seeks to exclude the statement under Federal Rule of Evidence 403, arguing that

 “the probative value of this evidence is outweighed by a danger of misleading the jury.” The correct

 standard is actually that the “probative value [of the evidence] is substantially outweighed by a

 danger of . . . misleading the jury,” see Fed. R. Evid. 403, but, regardless, this argument fails for a

 number of reasons. First, according to the government, Special Agent Havlin did not prepare or

 authorize the proposed summary statement. If that was indeed the case, then the contents of the

 summary have no bearing on the reliability of the original statement; in fact, the summary would not

 be relevant for any purpose at trial, since it is now unnecessary to avoid implicating co-defendants

 and is not a prior statement of a witness.

        Second, even assuming that the government’s proposed summary is a statement or an

 adopted statement of Special Agent Havlin, prior inconsistent statements by witnesses go to

 challenge the weight and credibility of Havlin’s testimony, not its admissibility. Mr. Roman

 provides no authority at all for the notion that testimony can be excluded simply because it is

 inconsistent with other evidence in the record. The probative value of Mr. Roman’s alleged

 admission that he knew that what the alleged co-conspirator was doing was illegal is extremely high.

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 There is nothing “misleading” about the evidence, unless Mr. Havlin misunderstood or misreported

 Mr. Roman’s statement—that is certainly an argument Mr. Roman may make to the jury (if he can

 establish that the proposed summary is Havlin’s statement), but it is not the basis for an exclusion

 under Rule 403. Therefore, the probative value of Mr. Roman’s statement to investigators is not

 substantially outweighed by a danger of misleading the jury.

        For the reasons discussed, the Government’s Motion to Strike [DE 180] is DENIED.

 Likewise, Defendant Raul Rafael Roman Camacho’s Third Motion in Limine [DE 175] is DENIED.

        SO ORDERED.

        ENTERED:        April 18, 2013


                                                      /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court




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